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      4
          Counsel for Defendant
      5   SANH CHAN THAI
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      8                           IN THE UNITED STATES DISTRICT COURT
      9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
     10   UNITED STATES OF AMERICA,                 ) Case No. 1:05-cr-00102 OWW
                                                    )
     11   Plaintiff,                                ) STIPULATION AND ORDER MODIFYING
                                                    ) THE CONDITIONS OF BOND
     12   vs.                                       )
                                                    )
     13   SANH CHAN THAI,                           )
                                                    )
     14   Defendant.                                )
     15           IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff, United
     16   States of America, by and through its attorney of record, Assistant United States
     17   Attorney, Jonathan B. Conklin, and defendant Sanh Chan Thai, by and through his
     18   attorney of record, Stephen Mensel, that the conditions of bond previously set be
     19   modified to allow Mr. Thai to travel within the United States for periods of up to 5 days
     20   upon the prior written approval of the United States Pretrial Services Agency.
     21   ////
     22   ////
     23   ////
     24   ////
     25   ////
     26   ////
     27   ////
     28   ////
     29   ////


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      1   All other conditions previously set remain in effect.
      2          Respectfully submitted,
      3   Dated: October 17, 2005            /s/Stephen Mensel
                                             STEPHEN MENSEL, Attorney for Defendant
      4
                                             McGREGOR W. SCOTT
      5                                      United States Attorney
      6
          Dated: October 24, 2005            /s/Jonathan B. Conklin
      7                                      JONATHAN B. CONKLIN
                                             Assistant U.S. Attorney
      8
                                                   ORDER
      9
                 GOOD CAUSE APPEARING, IT IS HEREBY ORDERED THAT, the bond
     10
          conditions previously set in this matter be modified to allow Mr. Thai to travel within the
     11
          United States outside the Central and Eastern Districts of California for the purpose of
     12
          employment for periods of up to 5 days upon the prior written approval of the United
     13
          States Pretrial Services Agency.
     14
          DATED: October __, 2005                   /s/ OLIVER W. WANGER
     15
                                                    OLIVER W. WANGER
     16                                             United States District Judge
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